       Case 4:17-cv-02500 Document 41 Filed in TXSD on 06/20/18 Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 JOHN DOE,                                               §
     Plaintiff,                                          §
                                                         §
  v.                                                     §
                                                         §
  TEXAS A&M UNIVERSITY, DAYNA                            §
  FORD, as agent for Texas A&M                           §
  University, ROBIN SHUGLIE, as agent                    §
  for Texas A&M University, GLENN                        §
  STARNES, as agent for Texas A&M                        §       CIVIL ACTION NO. 4:17-cv-02500
  University, MIKE DULKE, as agent for                   §              JURY DEMAND
  Texas A&M University, KYLE                             §
  MCCRACKEN, as agent for Texas A&M                      §
  University, TERRI ALLISON, as agent for                §
  Texas A&M University, JOSHUA                           §
  ISRINGHAUSEN, as agent for Texas                       §
  A&M University, DALE NORRIS, as                        §
  agent for Texas A&M University, and                    §
  ANNE REBER, as agent for Texas A&M                     §
  University,                                            §
        Defendants.                                      §


                       JOINT ADVISORY TO THE COURT AND
                MOTION TO ABATE DEADLINES BY 60 ADDITIONAL DAYS


        Discussions about potential resolution have continued to be productive, and the parties

would like to further collaborate before incurring additional attorney fees. In the interest of

efficiency and judicial economy, Counsel jointly request an abatement until August 19, 2018 of

all deadlines in the case, specifically including the deadline for Plaintiff’s Response to Defendants’

Motion to Dismiss.




Joint Advisory to the Court and Motion to Abate Deadlines until August 19, 2018                 Page 1
      Case 4:17-cv-02500 Document 41 Filed in TXSD on 06/20/18 Page 2 of 2



Respectfully submitted,

                                                     KEN PAXTON
 /s/ Diana Warshow                                   Attorney General of Texas
 ANDREW T. MILTENBERG
 Pro Hac Vice                                        JEFFREY C. MATEER
 DIANA R. WARSHOW                                    First Assistant Attorney General
 Pro Hac Vice
 NESENOFF & MILTENBERG, L.L.P.                       BRANTLEY STARR
 363 Seventh Avenue, 5th floor                       Deputy First Assistant Attorney General
 New York, New York 10001
                                                     JAMES E. DAVIS
 MICHELLE SIMPSON TUEGEL                             Deputy Attorney General for Civil Litigation
 Texas Bar No. 24075187
 HUNT & TUEGEL, P.L.L.C.                             ANGELA V. COLMENERO
 P.O. Box 726                                        Chief, General Litigation Division
 Waco, Texas 76703
                                                     /s/ Carl.
 COUNSEL FOR PLAINTIFF                               H. CARL MYERS
                                                     Texas Bar No. 24046502 | So. Dist. Bar 852368
                                                     Attorney-in-Charge
                                                     SEAN FLAMMER
                                                     Texas Bar No. 24059754 | So. Dist. Bar 1376041
                                                     CHRISTINE M.H. SMITH
                                                     Texas Bar No. 24088432
                                                     Pro Hac Vice
                                                     Assistant Attorneys General
                                                     Office of the Attorney General
                                                     General Litigation Division
                                                     P.O. Box 12548, Capitol Station
                                                     Austin, Texas 78711-2548
                                                     (512) 463-2120 | FAX: (512) 320-0667
                                                     carl.myers@oag.texas.gov
                                                     sean.flammer@oag.texas.gov
                                                     christine.smith@oag.texas.gov

                                                     COUNSEL FOR DEFENDANTS




Joint Advisory to the Court and Motion to Abate Deadlines until August 19, 2018                     Page 2
